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               Exhibit C
      (Previously Filed as Exhibit 87 to the Decl. of
         Bryon Becker, Dkt. Nos. 591-7 & 603-2)
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Future of Advertising



July 2020




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Digital Display
     The display ad market is mature and declining                                                         Marketers are shifting budgets from display to video                                                             Few players capture bulk of display investment

The US display ad market is expected to decline at a                                                      A growing portion of display ad budgets are expected to                                                        Facebook, Google, and Amazon account for a growing
                 CAGR from 2020 to 2024                                                                                    shift to video channels                                                                             share of programmatic display ad spend

                                                                                                                                                                                                                                   Facebook, Google, and Amazon share of US
                 US Gross Display Ad Spend ($M)1                                                                                US Digital Ad Spend Share (%)2
                                                                                                                                                                                                                                       Programmatic Display Ad Spend3




                                                                                                                    48                50                51                52               54


                                                                                                                                                                                                                                 62%                                             64%                 36%
                                                                                                                                                                                                                                                     38%
                                                                                                                                                                                                                                 FB,                Other                         FB,                     Other
                                                                                                                                                                                                                                 GOOG,                                            GOOG,
                                                                                                                                                                                                                                 AMZN                                             AMZN

                                                                                                                    42                41                40                40                38
                                                                                                                                                                                                                                         2019                                             2021


      2020             2021               2022              2023               2024                               2020              2021              2022              2023              2024                         Note: FB tech used primarily for FB O&O, while Google ad tech is used for
                                                                                                                                                                                                                                 display advertising on the broader internet ecosystem
                                                                                                                      Banner Display                             Rich Media Display
                                                                                                                      Sponsorships Display                       Video
Industry Players
Display market players are primarily full stack solutions with O&O inventory, differentiated data assets, and self-service tools that cater to both enterprise and small business advertisers

                           •    Facebook Ads Manager offers self-service                                                               •    Google Marketing Platform offers suite of ad                                                              •     Xandr has strong display offerings given
                                advertising tools with unique display ad                                                                    solutions with Google data and inventory                                                                        AppNexus’ position as a historically display-first
                                formats (e.g. Sponsored Photo, Carousel,                                                               •    Google Display Network supports prebuilt and                                                                    platform
                                Playable)                                                                                                   responsive display ads                                                                                    •     Proprietary data assets, O&O media, and
                           •    Facebook is expected to capture         of total                                                       •    Google is expected to capture       of total US                                                                 converged/omnichannel capabilities increase
                                US display revenue in 2020 1                                                                                display ad revenue in 20201                                                                                     value of display channel offerings

                                                                                                                                                                                         Sources: 1. Magna, 2020 and                                      ; 2. eMarketer, March 2020; 3. eMarketer, October 2019.
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